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10
                                       UNITED STATES DISTRICT COURT
11
                                     NORTHERN DISTRICT OF CALIFORNIA
12
                                           SAN FRANCISCO DIVISION
13

14   DAWN DANGAARD, et al.,                                 CASE NO. 3:22-cv-01101-KAW
15                  Plaintiffs,                             JOINT STIPULATION REQUESTING
                                                            THAT THE COURT CONTINUE UNTIL
16          v.                                              AFTER RESOLUTION OF THE PENDING
                                                            MOTIONS THE CASE MANAGEMENT
17   INSTAGRAM, LLC, et al.                                 CONFERENCE AND DEADLINES FOR
                                                            FILING OF RULE 26(F) REPORT, JOINT
18                  Defendants.                             CASE MANAGEMENT STATEMENT, AND
                                                            THE EXCHANGE OF INITIAL
19                                                          DISCLOSURES
20                                                          Complaint Filed Date: February 22, 2022
                                                            Judge:                 William Alsup
21                                                          Hearing Date:          September 8, 2022
22

23          All Parties respectfully request that this Court reschedule the initial case management conference
24   and related submissions until after the resolution of the pending motions scheduled to be heard on
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28     JOINT STIPULATION REQUESTING CONTINUANCE OF INITIAL CASE MANAGEMENT CONFERENCE, AND
        EXTENSION OF DEADLINES FOR RULE 26(F) REPORT, JOINT CASE MANAGEMENT STATEMENT, AND
                                  EXCHANGE OF INITIAL DISCLOSURES
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 1   September 8, or at minimum, until a future date after the hearing, in the interests of judicial economy and
 2   orderly management of the action. Specifically:
 3          WHEREAS, on February 24, 2022, the Clerk entered an Order setting an initial May 17, 2022
 4   deadline for the filing of the Rule 26(f) Report and the Joint Case Management Statement, and the
 5   exchange of initial disclosures. ECF No. 7.
 6          WHEREAS, subsequently, Plaintiffs Dawn Dangaard, Kelly Gilbert, and Jennifer Allbaugh, on
 7   the one hand, and Defendants Fenix Internet LLC, Fenix International Ltd., and Leonid Radvinsky
 8   (collectively, the “Fenix Defendants”), and Instagram, LLC, Facebook Operations, LLC, and Meta
 9   Platforms (collectively, the “Meta Defendants”) on the other hand, proposed by stipulation a modified
10   briefing schedule in an attempt to coordinate efforts across the instant case and a related putative class
11   action pending in the San Mateo Superior Court (JFF Publications LLC v. Facebook Operations, LLC et
12   al., Case No. 22-CIV-00782), which asserts substantially the same allegations as those made in the instant
13   case, but which is brought by adult content platforms rather than adult content providers. On April 8,
14   2022, the Court entered that stipulation. ECF No. 27.
15          WHEREAS, on April 9, 2022, consistent with that stipulation, the Clerk entered an Order resetting
16   the deadline to file the Joint Case Management Statement to September 1, and scheduling the Initial Case
17   Management Conference for September 8, 2022, ECF No. 28, the effect of which Order was to reset the
18   deadlines to file the Rule 26(f) Report and to exchange initial disclosures to September 1, 2022. See id.;
19   ECF No. 7.
20          WHEREAS, on June 30, 2022, the Meta Defendants and the Fenix Defendants filed responsive
21   motions (collectively, the “Defendants’ Responsive Motions”), ECF Nos. 40–42, which motions, if
22   granted, may be fully dispositive of this action and also affect jurisdiction over the Fenix Defendants.
23          WHEREAS, after the replies in support of the Defendants’ Responsive Motions are filed today,
24   August 25, 2022, the motions will be ripe for potential resolution. See ECF Nos. 43–47.
25          WHEREAS, all parties have conferred and agreed that, in the interests of judicial economy and
26   orderly management of this action, the parties should jointly move the Court to reschedule the September
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       JOINT STIPULATION REQUESTING CONTINUANCE OF INITIAL CASE MANAGEMENT CONFERENCE, AND
        EXTENSION OF DEADLINES FOR RULE 26(F) REPORT, JOINT CASE MANAGEMENT STATEMENT, AND
                                  EXCHANGE OF INITIAL DISCLOSURES
              Case 3:22-cv-01101-WHA Document 54 Filed 08/27/22 Page 3 of 4



 1   8, 2022 Case Management Conference, and continue the deadlines to file the Rule 26(f) Report, Joint Case
 2   Management Statement, and to exchange initial disclosures, until the Court resolves the Defendants’
 3   Responsive Motions or at minimum, until a date after the September 8 hearing based on the Court’s
 4   evaluation of the motions and determination of next steps.
 5          WHEREAS, the parties submitted a similar request in the related San Mateo action, which is
 6   scheduled to hear arguments on similar pleading motions on September 9, and the court there rescheduled
 7   the initial case management conference from June to October 28, 2022, after consideration of the pleading
 8   and jurisdictional motions.
 9          NOW THEREFORE, THE PARTIES JOINTLY REQUEST THAT THE COURT:
10          1.      Reschedule the September 8, 2022 Case Management Conference, and continue the
11   deadlines to file the Rule 26(f) Report, Joint Case Management Statement, and to exchange initial
12   disclosures, until the Court resolves the Defendants’ Responsive Motions or at minimum, until a date after
13   the September 8 hearing based on the Court’s evaluation of the motions and determination of next steps.
14          2.      In the interim, the September 8 Case Management Conference is taken off the calendar,
15   and the deadlines to file the Rule 26(f) Report, Joint Case Management Statement, and to exchange initial
16   disclosures are vacated until reset by the Court. Initial Case Management Conference reset for 11/10/2022.
     Joint cmc statement due 11/3/2022.
17           WHEREFORE, the parties respectfully request that the Court enter this Stipulation as an Order of
18   the Court.
19   IT IS SO STIPULATED.
20    DATED: August 25, 2022                           /s/ K. Winn Allen
21                                                     K. Winn Allen, P.C. (admitted pro hac vice)
                                                       Devin S. Anderson (admitted pro hac vice)
22                                                     Michael P. Esser (SBN 268634)
                                                       KIRKLAND & ELLIS LLP
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24                                                     Attorneys for Defendants Instagram, LLC,
                                                       Facebook Operations, LLC, and Meta
25                                                     Platforms, Inc.

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       JOINT STIPULATION REQUESTING CONTINUANCE OF INITIAL CASE MANAGEMENT CONFERENCE, AND
        EXTENSION OF DEADLINES FOR RULE 26(F) REPORT, JOINT CASE MANAGEMENT STATEMENT, AND
                                  EXCHANGE OF INITIAL DISCLOSURES
           Case 3:22-cv-01101-WHA Document 54 Filed 08/27/22 Page 4 of 4



 1

 2   DATED: August 25, 2022                   /s/ David Azar
                                              David E. Azar
 3                                            MILBERG COLEMAN BRYSON PHILLIPS
                                              GROSSMAN, PLLC
 4
                                              Attorneys for Plaintiffs Dawn Dangaard,
 5                                            Kelly Gilbert, and Jennifer Allbaugh
 6

 7
     DATED: August 25, 2022                   /s/ Jason Sternberg
 8
                                              Jason Sternberg
 9                                            Shon Morgan
                                              John Francis O’Sullivan
10                                            Joshua Fordin
                                              Victoria Blohm Parker
11                                            QUINN EMANUEL URQUHART &
                                              SULLIVAN, LLP
12
                                              Attorneys for Defendant Fenix Internet LLC,
13                                            Fenix International Inc., and Leonid
                                              Radvinsky
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18   PURSUANT TO STIPULATION, IT IS SO ORDERED AS MODIFIED
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22   DATED: August 26, 2022             By:
                                              HONORABLE WILLIAM ALSUP
23                                            United States District Judge

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      JOINT STIPULATION REQUESTING CONTINUANCE OF INITIAL CASE MANAGEMENT CONFERENCE, AND
       EXTENSION OF DEADLINES FOR RULE 26(F) REPORT, JOINT CASE MANAGEMENT STATEMENT, AND
                                 EXCHANGE OF INITIAL DISCLOSURES
